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U.S. Department of Justice Criminal Docket

Washington, D.C.
11/04/2021 /ra

McALLEN Division CR. No. V s 2 ]- 2 ] 3 8 3 ae

CRIMINAL INFORMATION Filed: November 5, 2021 Judge:
County: Hidalgo a
Lions #: 2021 RO00491 Attorneys:
UNITED STATES OF AMERICA JENNIBER B. LOWERY, ACTING U.S. ATTORNEY
Vv. ROBERTO LOPEZ, ASST. U.S. ATTORNEY
OMAR X. ROMERO Cts. 1&2 Thomas McHugh, Ret'd, (210) 227-4662
Charge(s): Ct. 1: Travel Act
Title 18, United States Code, Section 1952(a)(3)
Ct. 2: Bankruptcy Fraud
Title 18, United States Code, Section 152(5)
Total
Counts
(2)
Penalty: Cts. 1&2: Imprisonment for not more than 5 yrs. and/or a fine not to exceed $250,000.00
and not more than a 3yr. SRT (as to each count).
Agency: Federal Bureau of Investigation — Ricardo Ale

Date

Proceedings

